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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 23-MJ-71
HEATHER KEPLEY, : VIOLATIONS:
ANTHONY NOLF, : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendants.
18 U.S.C. § 1752(a)(1)

: (Entering and Remaining in a Restricted
: Building or Grounds)

18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
INDICTMENT
The Grand Jury charges that:
COUNT 1
On or about January 6, 2021, within the District of Columbia, ANTHONY NOLF,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT 2
. On or about January 6, 2021, in the District of Columbia, ANTHONY NOLF and
HEATHER KEPLEY, did knowingly enter and remain in a restricted building and grounds, that
is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT 3
On or about January 6, 2021, in the District of Columbia, ANTHONY NOLF and
HEATHER KEPLEY, did knowingly, and with intent to impede and disrupt the orderly conduct
of Government businéss and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

A TRUE BILL:

FOREPERSON.

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_ Attorney of the United States in
and for the District of Columbia.
